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      Thimes Solutions Inc.
 10
 11
                           UNITED STATES DISTRICT COURT
 12
                         CENTRAL DISTRICT OF CALIFORNIA
 13
                                   WESTERN DIVISION
 14
       THIMES SOLUTIONS INC.                  Case No. 2:19-cv-10374-SB-E
 15
                          Plaintiff,          DISCOVERY MATTER
 16
             v.
 17                                           Date: September 2, 2022
       TP-LINK USA CORPORATION, and           Time: 9:30 am
 18    AUCTION BROTHERS, INC. d/b/a           Courtroom: 750, 7th Floor
 19    AMAZZIA
                                              PLAINTIFF’S NOTICE OF
                          Defendant.          MOTION TO COMPEL FURTHER
 20
                                              INTERROGATORY RESPONSES
 21                                           FROM DEFENDANT TP-LINK USA
                                              CORPORATION
 22
                                              Discovery Cutoff: Sept. 30, 2022
 23                                           Pretrial Conference: Dec. 30, 2022
                                              Trial Date:          Jan. 9, 2023
 24
 25                                           Complaint Filed: May 29, 2019
                                              Am. 5th Am. Com. Filed: May 27, 2022
 26
 27
 28
                                                                      NOTICE OF MOTION
                                                               CASE NO. 2:19-CV-10374-SB-E
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  1   TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEYS OF
  2   RECORD:
  3         PLEASE TAKE NOTICE THAT on September 2, 2022 at 9:30 a.m., or as
  4   soon thereafter as counsel may be heard, before the Honorable Charles F. Eick,
  5   Magistrate Judge of the United States District Court, Central District of California,
  6   located at 255 East Temple Street, Los Angeles, California 90012, Courtroom 750,
  7   7th Floor, plaintiff Thimes Solutions Inc. will and hereby does move
  8   pursuant to Federal Rule of Civil Procedure 34 and Local Rule 37-2 for an
  9   order compelling defendant TP-Link USA Corporation to issue further responses to
 10   Thimes’s interrogatory nos. 1 and 3.
 11         This motion is based upon this notice of motion, the concurrently submitted
 12   Joint Stipulation, the declaration of Victor Meng the pleadings and other materials
 13   on file in this action, and such other matters that this Court may consider at or
 14   before any hearing on this motion. A proposed order is submitted concurrently
 15   herewith.
 16
 17    Dated: August 10, 2022        GAW | POE LLP
 18
                                     By: /s/ Victor Meng
 19
                                             VICTOR MENG (S.B. #254102)
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 25
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 27
 28
                                                                              NOTICE OF MOTION
                                                -1-                  CASE NO. 2:18-CV-1077-CBM-E
